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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                                    4:14CR3114
       vs.
                                                                       ORDER
SONIA HERNANDEZ,
                      Defendants.


       Defense counsel orally moved to continue the trial currently set for March 7, 2016,
explaining that Defendant needs additional time to negotiate a plea, and if she decides not to
enter a plea, then prepare for trial. In addition, Defendant filed a motion to continue, explaining
defense counsel is not available during the current trial setting. (Filing No. 123). The motion to
continue is unopposed. Based on the showing set forth in the motion, the court finds the motion
should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant’s oral motion, and her filed motion to continue, (filing no. 123), are
               granted.

       2)      The trial of this case is set to commence before the Honorable John M. Gerrard,
               United States District Judge, in Courtroom 1, United States Courthouse, Lincoln,
               Nebraska, at 9:00 a.m. on May 9, 2016, or as soon thereafter as the case may be
               called, for a duration of five (5) trial days. Jury selection will be held at
               commencement of trial.

       3)      Based upon the showing set forth in the defendant’s motion and the
               representations of counsel, the Court further finds that the ends of justice will be
               served by continuing the trial; and that the purposes served by continuing the trial
               date in this case outweigh the interest of the defendant and the public in a speedy
               trial. Accordingly,

               a.     The additional time arising as a result of the granting of the motion, the
                      time between today’s date and May 9, 2016, shall be deemed excludable
                      time in any computation of time under the requirements of the Speedy
                      Trial Act, because although counsel have been duly diligent, additional
                      time is needed to adequately prepare this case for trial and failing to grant
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                   additional time might result in a miscarriage of justice. 18 U.S.C. §
                   3161(h)(7)(A) & (B).

            b.     Failing to timely file an objection to this order as provided under the
                   court’s local rules will be deemed a waiver of any right to later claim the
                   time should not have been excluded under the Speedy Trial Act.


     February 18, 2016.
                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge




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